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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Helen Allen
                                 Plaintiff,
v.                                                    Case No.: 1:21−cv−00962
                                                      Honorable Mary M. Rowland
Ford Motor Company
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 1, 2021:


        MINUTE entry before the Honorable Mary M. Rowland: In light of Judge
Cummings' order [16], the court sets a telephonic status hearing for 9/30/21 at 9:30am.
Parties shall call 866−434−5269 and the access code is 3751971. The deadline of 9/30/21
for parties to file a status report on settlement discussions [14] is stricken. Mailed notice.
(dm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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